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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


NATIONAL TREASURY EMPLOYEES
UNION, et al.,

                       Plaintiffs,

        v.                                         Case No. 1:25-cv-00381-ABJ

RUSSELL VOUGHT, in his official
capacity as Acting Director of the Consumer
Financial Protection Bureau, et al.,

                       Defendants.


                                     NOTICE OF FILING

       Pursuant to this Court’s Minute Order of February 20, 2025, Defendants hereby file true

and correct copies of the following documents:

      February 3, 2025 email, “Instructions from Acting Director”

      February 8, 2025 email, “Directives on Bureau Activities”

      February 9, 2025 email, “Please Read: DC Headquarters Building Operating Status (2/10-

       2/14)”

      February 10, 2025 email, “Additional Directives on Bureau Activities”
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Dated: February 21, 2025            BRETT A. SHUMATE
                                    Principal Deputy Assistant Attorney General
                                    Civil Division

                                    s/ Brad P. Rosenberg
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